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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

 FREE STATE OF BAVARIA,
 represented by the UNIVERSITY
 OF WÜRZBURG,
                                        :
                   Plaintiff,
                                              Case No. 2:22-cv-2580
                                              Judge Sarah D. Morrison
       v.
                                              Magistrate Judge Chelsey M.
                                              Vascura
 THE OHIO STATE UNIVERSITY,             :
 et al.,

                   Defendants.


                                    ORDER

      This matter is before the Court on Defendant The Ohio State University’s

Motion to Dismiss the First Amended Complaint. (ECF No. 56.) Plaintiff Free State

of Bavaria, represented by the University of Würzburg, does not oppose. (ECF No.

57.) Accordingly, the Motion is GRANTED. The Ohio State University is

TERMINATED as a party to this action and all claims asserted against it are

DISMISSED.



      IT IS SO ORDERED.


                                      /s/ Sarah D. Morrison
                                      SARAH D. MORRISON
                                      UNITED STATES DISTRICT JUDGE
